                                   Case 20-21029-RAM                      Doc 1     Filed 10/09/20             Page 1 of 67


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                        Chapter you are filing under:
                                                                                  Chapter 7
                                                                                  Chapter 11
                                                                                  Chapter 12

                                                                                  Chapter 13                                       Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  04/20
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Rodney                                                           Yarielsi
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                      Middle name
     Bring your picture            Sanchez Zgraggen                                                 Batista
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.




2.   All other names you have
     used in the last 8 years Rodney Sanchez                                                        Yarielsi Batista Sanchez
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-0608                                                      xxx-xx-2124
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
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Debtor 1   Rodney Sanchez Zgraggen
Debtor 2   Yarielsi Batista                                                                          Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EIN                                                           EIN




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 9143 SW 77TH AVE APT B308
                                 Miami, FL 33156
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Miami-Dade
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
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Debtor 1    Rodney Sanchez Zgraggen
Debtor 2    Yarielsi Batista                                                                              Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                                          Southern District of
                                                          Florida - Miami-Dade
                                              District    Division                      When     2/11/14                Case number      14-13276
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                                   Case 20-21029-RAM                  Doc 1         Filed 10/09/20              Page 4 of 67
Debtor 1    Rodney Sanchez Zgraggen
Debtor 2    Yarielsi Batista                                                                               Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S.C. §
    1182(1)?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
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Debtor 1    Rodney Sanchez Zgraggen
Debtor 2    Yarielsi Batista                                                                           Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1    Rodney Sanchez Zgraggen
Debtor 2    Yarielsi Batista                                                                              Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Rodney Sanchez Zgraggen                                       /s/ Yarielsi Batista
                                 Rodney Sanchez Zgraggen                                           Yarielsi Batista
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     October 8, 2020                                   Executed on     October 8, 2020
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Rodney Sanchez Zgraggen
Debtor 2   Yarielsi Batista                                                                               Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Timothy S. Kingcade                                            Date         October 8, 2020
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Timothy S. Kingcade 082309
                                Printed name

                                Kingcade, Garcia & McMaken, P.A.
                                Firm name

                                1370 Coral Way
                                Miami, FL 33145
                                Number, Street, City, State & ZIP Code

                                Contact phone     305-285-9100                               Email address         scanner@miamibankruptcy.com
                                082309 FL
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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 Fill in this information to identify your case:

 Debtor 1                   Rodney Sanchez Zgraggen
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Yarielsi Batista
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             138,590.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $                4,928.48

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             143,518.48

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             559,611.20

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              24,846.10


                                                                                                                                     Your total liabilities $               584,457.30


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                5,013.97

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                3,150.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
                                    Case 20-21029-RAM                   Doc 1      Filed 10/09/20             Page 9 of 67
 Debtor 1      Rodney Sanchez Zgraggen
 Debtor 2      Yarielsi Batista                                                           Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $       4,463.22


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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                                        Case 20-21029-RAM                                Doc 1          Filed 10/09/20           Page 10 of 67

 Fill in this information to identify your case and this filing:

 Debtor 1                    Rodney Sanchez Zgraggen
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Yarielsi Batista
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF FLORIDA

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        9143 SW 77 Avenue, Unit B308                                                   Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Miami                             FL        33156-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $138,590.00                $138,590.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Miami-Dade                                                                     Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Debtors' homestead
                                                                                Purchased 02/2008
                                                                                Value based on Miami-Dade County Property Appraisers138590


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $138,590.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
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 Debtor 1        Rodney Sanchez Zgraggen
 Debtor 2        Yarielsi Batista                                                                                   Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Nissan                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Xtra XE/SE                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2004                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                    1900                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Value Based on NADA
         VIN 5N1ED28T64C678451                                       Check if this is community property                                $1,750.00                  $1,750.00
                                                                     (see instructions)



  3.2    Make:       Mitsubishi                                Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Eclipse GE                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2000                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                 214000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Value based on NADA
         VIN 4AAC44G7YE005900                                        Check if this is community property                                $2,200.00                  $2,200.00
         Rebuilt Title                                               (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $3,950.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Misc. Household Goods and Furnishings
                                    Based on Inventory                                                                                                                $710.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Misc. Electronics
                                    Based on Inventory                                                                                                                $130.00




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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 Debtor 1         Rodney Sanchez Zgraggen
 Debtor 2         Yarielsi Batista                                                                                                 Case number (if known)

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Misc. Clothing and Shoes                                                                                                         $50.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Misc. Jewlery
                                            Based on Inventory                                                                                                               $50.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            1 dog
                                            no market value                                                                                                                    $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                 $940.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured
                                                                                                                                                            claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................



Official Form 106A/B                                                                       Schedule A/B: Property                                                              page 3
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 Debtor 1        Rodney Sanchez Zgraggen
 Debtor 2        Yarielsi Batista                                                                     Case number (if known)


                                                                                                            Cash                                   $5.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                                            Wells Fargo Checking Account No. X 4987
                                      17.1.    Checking                     (negative balance)                                                     $0.00

                                                                            Wells Fargo Checking Account No. X 5059
                                                                            Account belongs to minor daughter who
                                      17.2.    Checking                     makes deposits into this account                                       $0.00



                                      17.3.    Savings                      Wells Fargo Savings Account No. X 4944                                 $3.02


                                                                            Wells Fargo Checking Account No. X 8657
                                      17.4.    Checking                     Joint with Debtor's minor son                                          $0.46


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                 Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                        % of ownership:

                                         Abib Services, LLC.

                                         Assets
                                         Regions Checking Account No. X1989 - $30.00

                                         2006 Freightline Continental (Colombia)
                                         VIN 1FUJA6CK56LV20535
                                         Value based on Debtor's Estimate - $5000
                                         Mileage 1,522,219
                                         Lien against truck Jesus A. Garcia - $5000                           100           %                    $30.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                            Institution name:




Official Form 106A/B                                                 Schedule A/B: Property                                                        page 4
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 Debtor 1         Rodney Sanchez Zgraggen
 Debtor 2         Yarielsi Batista                                                                            Case number (if known)

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                       Beneficiary:                          Surrender or refund
                                                                                                                                           value:

                                            New York Life
                                            Term Policy                                                                                                      $0.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 5
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 Debtor 1        Rodney Sanchez Zgraggen
 Debtor 2        Yarielsi Batista                                                                                                Case number (if known)


                                             Health Insurance through Obamacare
                                             Ambetter                                                                                                                     $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................        $38.48


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                            $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                     page 6
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 Debtor 1         Rodney Sanchez Zgraggen
 Debtor 2         Yarielsi Batista                                                                                                      Case number (if known)

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $138,590.00
 56. Part 2: Total vehicles, line 5                                                                             $3,950.00
 57. Part 3: Total personal and household items, line 15                                                         $940.00
 58. Part 4: Total financial assets, line 36                                                                       $38.48
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                        $4,928.48             Copy personal property total         $4,928.48

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $143,518.48




Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 7
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 Fill in this information to identify your case:

 Debtor 1                 Rodney Sanchez Zgraggen
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Yarielsi Batista
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      9143 SW 77 Avenue, Unit B308                                   $138,590.00                                               Fla. Const. art. X, § 4(a)(1);
      Miami, FL 33156 Miami-Dade County                                                                                        Fla. Stat. Ann. §§ 222.01 &
      Debtors' homestead                                                                   100% of fair market value, up to    222.02
      Purchased 02/2008                                                                    any applicable statutory limit
      Value based on Miami-Dade County
      Property Appraisers138590
      Line from Schedule A/B: 1.1

      2004 Nissan Xtra XE/SE 1900 miles                                $1,750.00                                 $1,750.00     Fla. Stat. Ann. § 222.25(1)
      Value Based on NADA
      VIN 5N1ED28T64C678451                                                                100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                          any applicable statutory limit

      2000 Mitsubishi Eclipse GE 214000                                $2,200.00                                   $250.00     Fla. Stat. Ann. § 222.25(1)
      miles
      Value based on NADA                                                                  100% of fair market value, up to
      VIN 4AAC44G7YE005900                                                                 any applicable statutory limit
      Rebuilt Title
      Line from Schedule A/B: 3.2

      2000 Mitsubishi Eclipse GE 214000                                $2,200.00                                 $1,110.00     Fla. Const. art. X, § 4(a)(2)
      miles
      Value based on NADA                                                                  100% of fair market value, up to
      VIN 4AAC44G7YE005900                                                                 any applicable statutory limit
      Rebuilt Title
      Line from Schedule A/B: 3.2


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Rodney Sanchez Zgraggen
 Debtor 2    Yarielsi Batista                                                                            Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Misc. Household Goods and                                           $710.00                                   $710.00        Fla. Const. art. X, § 4(a)(2)
     Furnishings
     Based on Inventory                                                                    100% of fair market value, up to
     Line from Schedule A/B: 6.1                                                           any applicable statutory limit

     Misc. Electronics                                                   $130.00                                   $130.00        Fla. Const. art. X, § 4(a)(2)
     Based on Inventory
     Line from Schedule A/B: 7.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Misc. Jewlery                                                        $50.00                                    $50.00        Fla. Const. art. X, § 4(a)(2)
     Based on Inventory
     Line from Schedule A/B: 12.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Rodney Sanchez Zgraggen
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Yarielsi Batista
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Dadeland Place
 2.1                                                                                                            $79,094.14              $138,590.00           $79,094.14
         Condominium                              Describe the property that secures the claim:
         Creditor's Name                          9143 SW 77 Avenue, Unit B308
                                                  Miami, FL 33156 Miami-Dade
                                                  County
                                                  Debtors' homestead
                                                  Purchased 02/2008
         c/o Executive National                   Value based on Miami-Dade County
         Bank                                     Property Appraisers138590
                                                  As of the date you file, the claim is: Check all that
         POB 164621                               apply.
         Miami, FL 33116-4621                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number        2308




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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 Debtor 1 Rodney Sanchez Zgraggen                                                                             Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Yarielsi Batista
               First Name                  Middle Name                      Last Name


 2.2     Servicing Corporation                      Describe the property that secures the claim:                   $480,517.06                $138,590.00         $341,927.06
         Creditor's Name                            9143 SW 77 Avenue, Unit B308
                                                    Miami, FL 33156 Miami-Dade
                                                    County
                                                    Debtors' homestead
                                                    Purchased 02/2008
                                                    Value based on Miami-Dade County
                                                    Property Appraisers138590
                                                    As of the date you file, the claim is: Check all that
         323 5th Street                             apply.
         Eureka, CA 95501                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
                                 02/16 Last
                                 Active
 Date debt was incurred          8/30/19                     Last 4 digits of account number         3654



   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $559,611.20
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $559,611.20

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          Dadeland Place Condominium
          9001 SW 77 Avenue                                                                           Last 4 digits of account number
          Miami, FL 33156

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          Dadeland Place Condominium
          c/o Cuevas, Garcia & Torres, PA                                                             Last 4 digits of account number
          7300 North Kendall Drive, Suite 680
          Miami, FL 33156

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.2
          Selene Finance
          Attn: Bankruptcy                                                                            Last 4 digits of account number
          Po Box 422039
          Houston, TX 77242

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.2
          Selene Finance
          9990 Richmond                                                                               Last 4 digits of account number
          Houston, TX 77042


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 2 of 3
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 Debtor 1 Rodney Sanchez Zgraggen                                                         Case number (if known)
              First Name                Middle Name                  Last Name
 Debtor 2 Yarielsi Batista
              First Name                Middle Name                  Last Name



        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.2
        Wilminton Savings Fund Sociaty
        c/o SHD Legal Group, PA                                                     Last 4 digits of account number   CA01
        PO Box 19519
        Fort Lauderdale, FL 33318




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                   Rodney Sanchez Zgraggen
                            First Name                      Middle Name                       Last Name

 Debtor 2                   Yarielsi Batista
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          Acceptance Now                                          Last 4 digits of account number         3556                                                              $1.00
              Nonpriority Creditor's Name
                                                                                                              Opened 11/18 Last Active
              5501 Headquarters Drive                                 When was the debt incurred?             11/18
              Plano, TX 75024
              Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                           Contingent

                  Debtor 2 only                                           Unliquidated
                  Debtor 1 and Debtor 2 only                              Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                           Rental Agreement
                  Yes                                                     Other. Specify   $0 Balance on Credit Report




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 Debtor 1 Rodney Sanchez Zgraggen
 Debtor 2 Yarielsi Batista                                                                               Case number (if known)

 4.2      Acceptance Now                                             Last 4 digits of account number       3489                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 09/18 Last Active
          5501 Headquarters Drive                                    When was the debt incurred?           1/16/19
          Plano, TX 75024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Rental Agreement
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.3      Acceptance Now                                             Last 4 digits of account number       3256                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 04/18 Last Active
          5501 Headquarters Drive                                    When was the debt incurred?           7/15/18
          Plano, TX 75024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Rental Agreement
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.4      Acceptance Now                                             Last 4 digits of account number       0675                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/14 Last Active
          5501 Headquarters Drive                                    When was the debt incurred?           2/21/15
          Plano, TX 75024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Rental Agreement
              Yes                                                       Other. Specify   $0 Balance on Credit Report




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 Debtor 2 Yarielsi Batista                                                                               Case number (if known)

 4.5      AR Resources, Inc.                                         Last 4 digits of account number       2215                                               $394.00
          Nonpriority Creditor's Name
          Pob 1056                                                   When was the debt incurred?           Opened 08/18
          Blue Bell, PA 19422
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Sheridan Er Phys Of
              Yes                                                       Other. Specify   South Da


 4.6      Baptist Hospital Miami                                     Last 4 digits of account number       6731                                           $13,347.10
          Nonpriority Creditor's Name
          POB 198116                                                 When was the debt incurred?
          Atlanta, GA 30384-8116
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services


 4.7      Capital One                                                Last 4 digits of account number       0485                                               $277.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/17 Last Active
          Po Box 30281                                               When was the debt incurred?           10/18
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




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 Debtor 2 Yarielsi Batista                                                                               Case number (if known)

 4.8      Capital One                                                Last 4 digits of account number       5701                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/15 Last Active
          Po Box 30281                                               When was the debt incurred?           11/21/16
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit Card
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.9      Checksystems                                               Last 4 digits of account number       0608                                                   $0.00
          Nonpriority Creditor's Name
          7805 Hudson Rd                                             When was the debt incurred?
          Saint Paul, MN 55125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.1
 0        Checksystems                                               Last 4 digits of account number       2124                                                   $0.00
          Nonpriority Creditor's Name
          7805 Hudson Rd                                             When was the debt incurred?
          Saint Paul, MN 55125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only




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 Debtor 1 Rodney Sanchez Zgraggen
 Debtor 2 Yarielsi Batista                                                                               Case number (if known)

 4.1
 1        Child Support Enforcement                                  Last 4 digits of account number       0608                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 8030                                                When was the debt incurred?
          Tallahassee, FL 32314
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.1
 2        Child Support Enforcemment                                 Last 4 digits of account number       2124                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 8030                                                When was the debt incurred?
          Tallahassee, FL 32314
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.1
 3        Crdt Express                                               Last 4 digits of account number       2179                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 11/27/13 Last Active
          2455 Hollywood Blvd                                        When was the debt incurred?           12/19/14
          Hollywood, FL 33020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Automobile
              Yes                                                       Other. Specify   $0 Balance on Credit Report




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 Debtor 2 Yarielsi Batista                                                                               Case number (if known)

 4.1
 4        Credit Collection Services                                 Last 4 digits of account number       2077                                               $141.00
          Nonpriority Creditor's Name
          Po Box 607                                                 When was the debt incurred?           Opened 4/09/16
          Norwood, MA 02062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Infinity Indemnity
              Yes                                                       Other. Specify   Insurance C


 4.1
 5        Credit One Bank                                            Last 4 digits of account number       4851                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 06/18 Last Active
          Po Box 98872                                               When was the debt incurred?           09/18
          Las Vegas, NV 89193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit Card
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.1      Dadeland Place Condominium
 6        Assoc., Inc                                                Last 4 digits of account number       CA01                                                   $1.00
          Nonpriority Creditor's Name
          c/o Guillermo M. Mancerbo, PA                              When was the debt incurred?
          7380 SW 48th Street
          Miami, FL 33155
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Foreclosure Lawsuit Case No.
              Yes                                                       Other. Specify   2019-027487-CA-01




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 Debtor 2 Yarielsi Batista                                                                               Case number (if known)

 4.1
 7        Department of the Treasury                                 Last 4 digits of account number       0608                                                   $0.00
          Nonpriority Creditor's Name
          Po Box 21126                                               When was the debt incurred?
          Philadelphia, PA 19114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.1
 8        Department Of The Treasury                                 Last 4 digits of account number       2124                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 21126                                               When was the debt incurred?
          Philadelphia, PA 19114-0326
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.1
 9        Equifax                                                    Last 4 digits of account number       0608                                                   $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?
          Po Box 740241
          Atlanta, GA 30374
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only




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 Debtor 2 Yarielsi Batista                                                                               Case number (if known)

 4.2
 0        Equifax                                                    Last 4 digits of account number       2124                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 740241                                              When was the debt incurred?
          Atlanta, GA 30374
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.2
 1        Experian                                                   Last 4 digits of account number       0608                                                   $0.00
          Nonpriority Creditor's Name
          Po Box 2002                                                When was the debt incurred?
          Allen, TX 75013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.2
 2        Experian                                                   Last 4 digits of account number       2124                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 2002                                                When was the debt incurred?
          Allen, TX 75013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only




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 Debtor 2 Yarielsi Batista                                                                               Case number (if known)

 4.2
 3        First Federal Credit Control                               Last 4 digits of account number       8603                                                 $77.00
          Nonpriority Creditor's Name
                                                                                                           Opened 08/16 Last Active
          24700 Chagrin Blvd                                         When was the debt incurred?           01/16
          Cleveland, OH 44122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Urgent Care Phys Of


 4.2
 4        First Federal Credit Control                               Last 4 digits of account number       8604                                                 $77.00
          Nonpriority Creditor's Name
                                                                                                           Opened 08/16 Last Active
          24700 Chagrin Blvd                                         When was the debt incurred?           04/16
          Cleveland, OH 44122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Urgent Care Phys Of


 4.2
 5        First Federal Credit Control                               Last 4 digits of account number       0356                                                 $77.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/17 Last Active
          24700 Chagrin Blvd                                         When was the debt incurred?           04/17
          Cleveland, OH 44122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Urgent Care Phys Of




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 Debtor 2 Yarielsi Batista                                                                               Case number (if known)

 4.2
 6        Florida Department Of Revenue                              Last 4 digits of account number       0608                                                   $0.00
          Nonpriority Creditor's Name
          5050 W Tennessee St                                        When was the debt incurred?
          Tallahassee, FL 32399-0110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.2
 7        Florida Department Of Revenue                              Last 4 digits of account number       2124                                                   $0.00
          Nonpriority Creditor's Name
          5050 W Tennessee St                                        When was the debt incurred?
          Tallahassee, FL 32399-0110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.2
 8        Harvard Collection                                         Last 4 digits of account number       9757                                               $405.00
          Nonpriority Creditor's Name
                                                                                                           Opened 01/20 Last Active
          4839 N Elston                                              When was the debt incurred?           03/18
          Chicago, IL 60630
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Sheridan Emergency
              Yes                                                       Other. Specify   Physician




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 Debtor 2 Yarielsi Batista                                                                               Case number (if known)

 4.2      IRS Centralized Bankruptcy
 9        Department                                                 Last 4 digits of account number       0608                                                   $0.00
          Nonpriority Creditor's Name
          POB 7346                                                   When was the debt incurred?
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.3      IRS Centralized Bankruptcy
 0        Department                                                 Last 4 digits of account number       2124                                                   $0.00
          Nonpriority Creditor's Name
          POB 7346                                                   When was the debt incurred?
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.3
 1        Kelley L. Church, Esq.                                     Last 4 digits of account number       CA01                                                   $1.00
          Nonpriority Creditor's Name
          Quintairos, Prieto, Wood & Boyer,                          When was the debt incurred?
          P.A.
          255 S Orange Ave, Suite 900
          Orlando, FL 32801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Attorney for Plaintiff




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 Debtor 2 Yarielsi Batista                                                                               Case number (if known)

 4.3
 2        Local Fin                                                  Last 4 digits of account number       942H                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 04/03 Last Active
          21000 Nw2nd Ave                                            When was the debt incurred?           10/04
          Miami, FL 33169
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.3
 3        Natiowide Recovery Service                                 Last 4 digits of account number       7410                                             $1,289.00
          Nonpriority Creditor's Name
                                                                                                           Opened 04/16 Last Active
          Pob 8005                                                   When was the debt incurred?           01/16
          Cleveland, TN 37320
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Sheridan Er Phys Of
              Yes                                                       Other. Specify   South Dade


 4.3
 4        Natiowide Recovery Service                                 Last 4 digits of account number       7519                                               $873.00
          Nonpriority Creditor's Name
                                                                                                           Opened 04/16 Last Active
          Pob 8005                                                   When was the debt incurred?           01/16
          Cleveland, TN 37320
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Sheridan Er Phys Of
              Yes                                                       Other. Specify   South Dade




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 Debtor 2 Yarielsi Batista                                                                               Case number (if known)

 4.3
 5        Navarro Roofing                                            Last 4 digits of account number       CA01                                                   $1.00
          Nonpriority Creditor's Name
          c/o Ivan Navarro                                           When was the debt incurred?
          3950 SW 87th Court
          Miami, FL 33165
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Foreclosure Lawsuit Case No.
              Yes                                                       Other. Specify   2019-027487-CA-01


 4.3
 6        Omega RMS, llc.                                            Last 4 digits of account number       9876                                             $4,858.00
          Nonpriority Creditor's Name
          7505 W Tiffany Springs Parkway                             When was the debt incurred?           Opened 7/09/19
          Kansas City, MO 64153
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   08 Latitude Vacation Club


 4.3
 7        Receivable Recovery Service Llc                            Last 4 digits of account number       6910                                             $2,025.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/14 Last Active
          110 Veterans Memorial Bv                                   When was the debt incurred?           06/14
          Metairie, LA 70005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Dr Shoopak - Kendall 2




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 Debtor 2 Yarielsi Batista                                                                               Case number (if known)

 4.3
 8        Receivables Management Group                               Last 4 digits of account number       VRM1                                               $330.00
          Nonpriority Creditor's Name
          2901 University Av                                         When was the debt incurred?           Opened 2/04/19
          Columbus, GA 31907
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.3
 9        Santander Consumer USA                                     Last 4 digits of account number       1000                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 01/19 Last Active
          Po Box 961211                                              When was the debt incurred?           8/19/19
          Fort Worth, TX 76161
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Automobile
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.4
 0        Synchrony Bank/Mattress Firm                               Last 4 digits of account number       4851                                               $661.00
          Nonpriority Creditor's Name
                                                                                                           Opened 04/19 Last Active
          C/o Resurgent Capital Services                             When was the debt incurred?           09/18
          Greenville, SC 29602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Factoring Company Account Credit One
              Yes                                                       Other. Specify   Bank N.A.




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 4.4
 1        Transunion                                                 Last 4 digits of account number       0608                                                   $0.00
          Nonpriority Creditor's Name
          Po Box 1000                                                When was the debt incurred?
          Chester, PA 19016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.4
 2        Transunion                                                 Last 4 digits of account number       2124                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 1000                                                When was the debt incurred?
          Chester, PA 19016-1000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.4
 3        Westcreek Fi                                               Last 4 digits of account number       31X1                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 7/11/19 Last Active
          4951 Lake Brook Dr                                         When was the debt incurred?           10/18/19
          Glen Allen, VA 23060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Lease
              Yes                                                       Other. Specify   $0 Balance on Credit Report




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 Debtor 2 Yarielsi Batista                                                                               Case number (if known)

 4.4
 4         Westcreek Fi                                              Last 4 digits of account number       35X2                                                           $1.00
           Nonpriority Creditor's Name
                                                                                                           Opened 10/24/19 Last Active
           4951 Lake Brook Dr                                        When was the debt incurred?           1/31/20
           Glen Allen, VA 23060
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Lease
              Yes                                                       Other. Specify   $0 Balance on Credit Report


 4.4
 5         Westcreek Fi                                              Last 4 digits of account number       35X1                                                           $1.00
           Nonpriority Creditor's Name
                                                                                                           Opened 7/11/19 Last Active
           4951 Lake Brook Dr                                        When was the debt incurred?           10/18/19
           Glen Allen, VA 23060
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Lease
              Yes                                                       Other. Specify   $0 Balance on Credit Report

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Acceptance Now                                                Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 5501 Headquarters Drive
 Plano, TX 75024
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Acceptance Now                                                Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 5501 Headquarters Drive
 Plano, TX 75024
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Acceptance Now                                                Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 5501 Headquarters Drive

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 Plano, TX 75024
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Acceptance Now                                                Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 5501 Headquarters Drive
 Plano, TX 75024
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AR Resources, Inc.                                            Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 1056
 Blue Bell, PA 19422
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Baptist Health South Florida                                  Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 POB 830880                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Miami, FL 33283
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 30285
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 30285
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit Collection Services                                    Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 725 Canton St
 Norwood, MA 02062
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit One Bank                                               Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy Department                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 98873
 Las Vegas, NV 89193
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 First Federal Credit Control                                  Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 24700 Chagrin Blvd, Ste 205
 Cleveland, OH 44122
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 First Federal Credit Control                                  Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 24700 Chagrin Blvd, Ste 205
 Cleveland, OH 44122
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 First Federal Credit Control                                  Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 24700 Chagrin Blvd, Ste 205
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 Cleveland, OH 44122
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Harvard Collection                                            Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 4839 N Elston Ave.
 Chicago, IL 60630
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Natiowide Recovery Service                                    Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 8005
 Cleveland, TN 37320
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Natiowide Recovery Service                                    Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 8005
 Cleveland, TN 37320
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Omega RMS, llc.                                               Line 4.36 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankrutpcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 7505 Nw Tiffany Springs Pky, Ste
 500
 Kansas City, MO 64153
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Receivable Recovery Service Llc                               Line 4.37 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Rrs - Attn: Bankruptcy                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 110 Veterans Memorial Blvd Ste 445
 Metairie, LA 70005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Receivables Management Group                                  Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 2901 University Ave. Suite #29
 Columbus, GA 31917
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Santander Consumer USA                                        Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 10-64-38-Fd7 601 Penn St
 Reading, PA 19601
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Mattress Firm                                  Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 965060
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Westcreek Fi                                                  Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 5518
 Glen Allen, VA 23058
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Westcreek Fi                                                  Line 4.44 of (Check one):

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 18 of 19
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                                   Case 20-21029-RAM                          Doc 1         Filed 10/09/20                Page 40 of 67
 Debtor 1 Rodney Sanchez Zgraggen
 Debtor 2 Yarielsi Batista                                                                               Case number (if known)

 Attn: Bankruptcy                                                                                         Part 1: Creditors with Priority Unsecured Claims
 Po Box 5518                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Glen Allen, VA 23058
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Westcreek Fi                                                  Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Po Box 5518
 Glen Allen, VA 23058
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                    24,846.10

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                    24,846.10




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 19 of 19
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 Fill in this information to identify your case:

 Debtor 1                  Rodney Sanchez Zgraggen
                           First Name                         Middle Name               Last Name

 Debtor 2                  Yarielsi Batista
 (Spouse if, filing)       First Name                         Middle Name               Last Name


 United States Bankruptcy Court for the:               SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                       State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                                      Case 20-21029-RAM                         Doc 1   Filed 10/09/20      Page 42 of 67

 Fill in this information to identify your case:

 Debtor 1                   Rodney Sanchez Zgraggen
                            First Name                            Middle Name           Last Name

 Debtor 2                   Yarielsi Batista
 (Spouse if, filing)        First Name                            Middle Name           Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                      Check if this is an
                                                                                                                                 amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                       12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                  Schedule D, line
                Name
                                                                                                         Schedule E/F, line
                                                                                                         Schedule G, line
                Number             Street
                City                                      State                         ZIP Code




    3.2                                                                                                  Schedule D, line
                Name
                                                                                                         Schedule E/F, line
                                                                                                         Schedule G, line
                Number             Street
                City                                      State                         ZIP Code




Official Form 106H                                                                 Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Rodney Sanchez Zgraggen

Debtor 2                      Yarielsi Batista
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF FLORIDA

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Owner                                      Cleaning Services
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Abib Service, LLC                          One Health Medic

       Occupation may include student        Employer's address
                                                                   9143 SW 77 Avenue, Suite 308               9560 SW 107 Ave, Suite 106
       or homemaker, if it applies.
                                                                   Miami, FL 33156                            Miami, FL 33176

                                             How long employed there?         1 year and 10 months                     3 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1        For Debtor 2 or
                                                                                                                          non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00      $             0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00      +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00             $       0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
                            Case 20-21029-RAM                   Doc 1        Filed 10/09/20               Page 44 of 67


Debtor 1   Rodney Sanchez Zgraggen
Debtor 2   Yarielsi Batista                                                                      Case number (if known)



                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $                 0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $                 0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $                 0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $                 0.00
     5e.    Insurance                                                                     5e.        $              0.00     $                 0.00
     5f.    Domestic support obligations                                                  5f.        $              0.00     $                 0.00
     5g.    Union dues                                                                    5g.        $              0.00     $                 0.00
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $                 0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $                 0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $                 0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $      4,029.89         $            433.33
     8b. Interest and dividends                                                           8b.        $          0.00         $              0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $                 0.00
     8d. Unemployment compensation                                                        8d.        $              0.00     $                 0.00
     8e. Social Security                                                                  8e.        $              0.00     $                 0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                0.00   $                       0.00
     8g. Pension or retirement income                                                     8g. $                 0.00   $                       0.00
     8h. Other monthly income. Specify: Tax Refund                                        8h.+ $              550.75 + $                       0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          4,580.64         $            433.33

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              4,580.64 + $            433.33 = $           5,013.97
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.    $          5,013.97
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                         page 2
                                Case 20-21029-RAM                      Doc 1       Filed 10/09/20            Page 45 of 67



Fill in this information to identify your case:

Debtor 1                 Rodney Sanchez Zgraggen                                                           Check if this is:
                                                                                                               An amended filing
Debtor 2                 Yarielsi Batista                                                                      A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF FLORIDA                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  12                   Yes
                                                                                                                                             No
                                                                                   Daughter                             16                   Yes
                                                                                                                                             No
                                                                                   Son                                  19                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                   0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
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Debtor 1     Rodney Sanchez Zgraggen
Debtor 2     Yarielsi Batista                                                                          Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                              200.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                                0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                                0.00
      6d. Other. Specify: cell phone                                                                         6d.   $                              200.00
             Internet/cable                                                                                        $                              120.00
7.    Food and housekeeping supplies                                                           7.                  $                            1,000.00
8.    Childcare and children’s education costs                                                 8.                  $                                0.00
9.    Clothing, laundry, and dry cleaning                                                      9.                  $                              200.00
10.   Personal care products and services                                                    10.                   $                              100.00
11.   Medical and dental expenses                                                            11.                   $                              100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 175.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   27.00
      15b. Health insurance                                                                15b. $                                                   80.00
      15c. Vehicle insurance                                                               15c. $                                                  378.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  470.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     3,150.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     3,150.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               5,013.97
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              3,150.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              1,863.97

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                                      Case 20-21029-RAM                   Doc 1     Filed 10/09/20              Page 47 of 67




 Fill in this information to identify your case:

 Debtor 1                    Rodney Sanchez Zgraggen
                             First Name                     Middle Name             Last Name

 Debtor 2                    Yarielsi Batista
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Rodney Sanchez Zgraggen                                               X   /s/ Yarielsi Batista
              Rodney Sanchez Zgraggen                                                   Yarielsi Batista
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       October 8, 2020                                                Date    October 8, 2020




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Rodney Sanchez Zgraggen
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Yarielsi Batista
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                Wages, commissions,                        $36,000.00           Wages, commissions,                  $3,899.99
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
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 Debtor 1      Rodney Sanchez Zgraggen
 Debtor 2      Yarielsi Batista                                                                            Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                             Wages, commissions,                        $21,854.00           Wages, commissions,               $21,433.00
 (January 1 to December 31, 2019 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

 For the calendar year before that:                  Wages, commissions,                        $55,435.00            Wages, commissions,                $9,373.00
 (January 1 to December 31, 2018 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Stimulus Check                                              $3,400.00
 the date you filed for bankruptcy:


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




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 Debtor 2      Yarielsi Batista                                                                            Case number (if known)


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Wilmington Savings Fund Society,                          Mortgage                   Circuit Court Miami-Dade                    Pending
       FSB vs. Rodney Sanchez Zgraggen                           Foreclosure                County                                      On appeal
       and Yarielis Batista
                                                                                                                                        Concluded
       2019-027487-CA-01


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes




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 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Timothy S Kingcade, Esq.                                      Attorney's fees $ 1,200                                  03/2020 to               $1,825.00
       Kingcade, Garcia, McMaken, PA                                 Court filing fees $310                                   04/2020
       1370 Coral Way                                                Office cost $140
       Miami, FL 33145                                               Credit report cost $125
                                                                     Budget briefing session $30
                                                                     Accurint report $20


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
                                                                                                                              made




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 Debtor 2      Yarielsi Batista                                                                             Case number (if known)


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or     Date transfer was
       Address                                                       property transferred                       payments received or debts   made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                       Date Transfer was
                                                                                                                                             made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was          Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,         before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                          Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       Marilyn Zgraggen                                              9143 SW 77 Avenue, Apt                 2015 Nissan Quest                              $0.00
                                                                     B308
                                                                     Miami, FL 33156



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 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       1099 Employee for One Health                              Cleaning Services                                   EIN:
       Medic
                                                                                                                     From-To    2017 to present




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        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Abib Services, LLC.                                      Transportation Services                         EIN:         XX-XXXXXXX
        9143 SW 77 Avenue, Suite 308
        Miami, FL 33156                                          Global Tax & Accounting Group                   From-To      01/2019 to present
                                                                 Corp.
                                                                 3399 NW 72 Avenue, Suite 216
                                                                 Miami, FL 33122

        Self-Employed Truck Driver                               Driver                                          EIN:

                                                                                                                 From-To      2015 to 12/2018


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Rodney Sanchez Zgraggen                                              /s/ Yarielsi Batista
 Rodney Sanchez Zgraggen                                                  Yarielsi Batista
 Signature of Debtor 1                                                    Signature of Debtor 2

 Date      October 8, 2020                                                Date    October 8, 2020

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75    administrative fee

        Your debts are primarily consumer debts.                                          +        $15    trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
            Rodney Sanchez Zgraggen
 In re      Yarielsi Batista                                                                            Case No.
                                                                                   Debtor(s)            Chapter    13




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: October 8, 2020                                                 /s/ Rodney Sanchez Zgraggen
                                                                       Rodney Sanchez Zgraggen
                                                                       Signature of Debtor

 Date: October 8, 2020                                                 /s/ Yarielsi Batista
                                                                       Yarielsi Batista
                                                                       Signature of Debtor




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            Acceptance Now
            5501 Headquarters Drive
            Plano, TX 75024


            Acceptance Now
            5501 Headquarters Drive
            Plano, TX 75024


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            Acceptance Now
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            Plano, TX 75024


            Acceptance Now
            Attn: Bankruptcy
            5501 Headquarters Drive
            Plano, TX 75024


            AR Resources, Inc.
            Pob 1056
            Blue Bell, PA 19422


            AR Resources, Inc.
            Attn: Bankruptcy
            Po Box 1056
            Blue Bell, PA 19422
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        Baptist Health South Florida
        POB 830880
        Miami, FL 33283


        Baptist Hospital Miami
        POB 198116
        Atlanta, GA 30384-8116


        Capital One
        Po Box 30281
        Salt Lake City, UT 84130


        Capital One
        Po Box 30281
        Salt Lake City, UT 84130


        Capital One
        Attn: Bankruptcy
        Po Box 30285
        Salt Lake City, UT 84130


        Capital One
        Attn: Bankruptcy
        Po Box 30285
        Salt Lake City, UT 84130


        Checksystems
        7805 Hudson Rd
        Saint Paul, MN 55125


        Checksystems
        7805 Hudson Rd
        Saint Paul, MN 55125


        Child Support Enforcement
        PO Box 8030
        Tallahassee, FL 32314


        Child Support Enforcemment
        PO Box 8030
        Tallahassee, FL 32314


        Crdt Express
        2455 Hollywood Blvd
        Hollywood, FL 33020
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        Credit Collection Services
        Po Box 607
        Norwood, MA 02062


        Credit Collection Services
        Attn: Bankruptcy
        725 Canton St
        Norwood, MA 02062


        Credit One Bank
        Po Box 98872
        Las Vegas, NV 89193


        Credit One Bank
        Attn: Bankruptcy Department
        Po Box 98873
        Las Vegas, NV 89193


        Dadeland Place Condominium
        c/o Executive National Bank
        POB 164621
        Miami, FL 33116-4621


        Dadeland Place Condominium
        9001 SW 77 Avenue
        Miami, FL 33156


        Dadeland Place Condominium
        c/o Cuevas, Garcia & Torres, PA
        7300 North Kendall Drive, Suite 680
        Miami, FL 33156


        Dadeland Place Condominium Assoc., Inc
        c/o Guillermo M. Mancerbo, PA
        7380 SW 48th Street
        Miami, FL 33155


        Department of the Treasury
        Po Box 21126
        Philadelphia, PA 19114


        Department Of The Treasury
        PO Box 21126
        Philadelphia, PA 19114-0326
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        Equifax
        Po Box 740241
        Atlanta, GA 30374


        Equifax
        PO Box 740241
        Atlanta, GA 30374


        Experian
        Po Box 2002
        Allen, TX 75013


        Experian
        PO Box 2002
        Allen, TX 75013


        First Federal Credit Control
        24700 Chagrin Blvd
        Cleveland, OH 44122


        First Federal Credit Control
        24700 Chagrin Blvd
        Cleveland, OH 44122


        First Federal Credit Control
        24700 Chagrin Blvd
        Cleveland, OH 44122


        First Federal Credit Control
        Attn: Bankruptcy
        24700 Chagrin Blvd, Ste 205
        Cleveland, OH 44122


        First Federal Credit Control
        Attn: Bankruptcy
        24700 Chagrin Blvd, Ste 205
        Cleveland, OH 44122


        First Federal Credit Control
        Attn: Bankruptcy
        24700 Chagrin Blvd, Ste 205
        Cleveland, OH 44122
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        Florida Department Of Revenue
        5050 W Tennessee St
        Tallahassee, FL 32399-0110


        Florida Department Of Revenue
        5050 W Tennessee St
        Tallahassee, FL 32399-0110


        Harvard Collection
        4839 N Elston
        Chicago, IL 60630


        Harvard Collection
        Attn: Bankruptcy
        4839 N Elston Ave.
        Chicago, IL 60630


        IRS Centralized Bankruptcy Department
        POB 7346
        Philadelphia, PA 19101-7346


        IRS Centralized Bankruptcy Department
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        Philadelphia, PA 19101-7346


        Kelley L. Church, Esq.
        Quintairos, Prieto, Wood & Boyer, P.A.
        255 S Orange Ave, Suite 900
        Orlando, FL 32801


        Local Fin
        21000 Nw2nd Ave
        Miami, FL 33169


        Natiowide Recovery Service
        Pob 8005
        Cleveland, TN 37320


        Natiowide Recovery Service
        Pob 8005
        Cleveland, TN 37320
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        Natiowide Recovery Service
        Attn: Bankruptcy
        Po Box 8005
        Cleveland, TN 37320


        Natiowide Recovery Service
        Attn: Bankruptcy
        Po Box 8005
        Cleveland, TN 37320


        Navarro Roofing
        c/o Ivan Navarro
        3950 SW 87th Court
        Miami, FL 33165


        Omega RMS, llc.
        7505 W Tiffany Springs Parkway
        Kansas City, MO 64153


        Omega RMS, llc.
        Attn: Bankrutpcy
        7505 Nw Tiffany Springs Pky, Ste 500
        Kansas City, MO 64153


        Receivable Recovery Service Llc
        110 Veterans Memorial Bv
        Metairie, LA 70005


        Receivable Recovery Service Llc
        Rrs - Attn: Bankruptcy
        110 Veterans Memorial Blvd Ste 445
        Metairie, LA 70005


        Receivables Management Group
        2901 University Av
        Columbus, GA 31907


        Receivables Management Group
        Attn: Bankruptcy
        2901 University Ave. Suite #29
        Columbus, GA 31917


        Santander Consumer USA
        Po Box 961211
        Fort Worth, TX 76161
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        Santander Consumer USA
        Attn: Bankruptcy
        10-64-38-Fd7 601 Penn St
        Reading, PA 19601


        Selene Finance
        Attn: Bankruptcy
        Po Box 422039
        Houston, TX 77242


        Selene Finance
        9990 Richmond
        Houston, TX 77042


        Servicing Corporation
        323 5th Street
        Eureka, CA 95501


        Synchrony Bank/Mattress Firm
        C/o Resurgent Capital Services
        Greenville, SC 29602


        Synchrony Bank/Mattress Firm
        Attn: Bankruptcy
        Po Box 965060
        Orlando, FL 32896


        Transunion
        Po Box 1000
        Chester, PA 19016


        Transunion
        PO Box 1000
        Chester, PA 19016-1000


        Westcreek Fi
        4951 Lake Brook Dr
        Glen Allen, VA 23060


        Westcreek Fi
        4951 Lake Brook Dr
        Glen Allen, VA 23060
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        Westcreek Fi
        4951 Lake Brook Dr
        Glen Allen, VA 23060


        Westcreek Fi
        Attn: Bankruptcy
        Po Box 5518
        Glen Allen, VA 23058


        Westcreek Fi
        Attn: Bankruptcy
        Po Box 5518
        Glen Allen, VA 23058


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        Attn: Bankruptcy
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        Glen Allen, VA 23058


        Wilminton Savings Fund Sociaty
        c/o SHD Legal Group, PA
        PO Box 19519
        Fort Lauderdale, FL 33318
